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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                    )
                                              )
                        Plaintiff,            )
                                              )
        v.                                    )       No. 21-cr-257 (RDM)-1
                                              )
 RONNIE BRIAN PRESLEY,                        )
                                              )
                       Defendant.             )
                                              )

                  UNOPPOSED MOTION FOR BRIEF CONTINUANCE OF
                      SENTENCING AND ASSOCIATED EVENTS


       Mr. Presley, through Counsel, requests a brief continuance of his sentencing hearing and

extension of time for the filing of the final PSR and sentencing memos. Undersigned counsel will be

on work travel and not returning in time for the hearing currently scheduled for November 18, 2022.

Additionally, counsel is still reviewing the draft PSR with Mr. Presley. Therefore, we request that

the sentencing hearing be continued to one of the following dates, if available to the Court: anytime

November 28, the afternoon of November 30 or anytime the afternoon of December 2. We propose

that the final PSR be disclosed on November 16, with the government’s sentencing memo due on

November 18, and the defense sentencing memo due on November 23.


                                             Respectfully submitted,

                                             A. J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                                    /s/

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